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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
                                           1:22-cr-00004-WMR
                                              USA v. Banks
                                        Honorable William M. Ray, II

                           Minute Sheet for proceedings held In Open Court on 08/22/2022.


             TIME COURT COMMENCED: 1:40 P.M.
             TIME COURT CONCLUDED: 3:20 P.M.                COURT REPORTER: Wynette Blathers
             TIME IN COURT: 1:40                            DEPUTY CLERK: Sherri Lundy
             OFFICE LOCATION: Atlanta

         DEFENDANT(S):       [1]De'reek Banks Present at proceedings
         ATTORNEY(S)         Benjamin Alper representing De'reek Banks
         PRESENT:            Samir Kaushal representing USA
         PROCEEDING
                             Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:        No objections to the guideline calculations. Defense objects to the loss
                             amount in the PSR as overstating the seriousness of the defense. Parties
                             discussed calculating guidelines. The government stated the restitution is
                             different than what is listed in the PSR and they will be relying on the
                             probation office to provide updated information as to the amount and
                             names of parties as to who receives restitution. The Defendant does not
                             object. The Court otherwise accepts the PSR as submitted. The Court
                             presented guideline calculations and sentencing options and heard
                             argument from counsel regarding a reasonable sentence. The Court
                             advised defendant of his right of allocution, Defendant's brother, Willie
                             Taylor, and Defendant both made a statement. The Court considered the
                             3553 factors. The Court sentences Defendant to custody of the BOP 72
                             MONTHS and 3 YEARS of Supervised Release as to Count 1, $100.00
                             special assessment, fine waived. Defendant requests the Court recommend
                             designation as close to Atlanta as possible, and the Court will include this
                             language in its Judgment. No objections were made. Defendant is to
                             voluntarily surrender and all conditions of the bond remain in effect.
         HEARING STATUS:     Hearing Concluded




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